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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

KIMBERLY PRICE,
      Plaintiff,
v.                                                  Case No. 1:21-cv-140-AW-GRJ
HCP SERVICES LLC, et al.,
     Defendants.
______________________________/
                   SCHEDULING AND MEDIATION ORDER

      Having considered the parties’ Rule 26(f) report (ECF No. 12), the court now

ORDERS the following:

      1.     The jury trial is moved to the trial period that begins on August 3, 2022.

Any party with a conflict during that trial period must file a notice within 14 days of

entry of this order.

      2.     The deadline to complete discovery is extended to May 31, 2022.

      3.     The parties’ Rule 26(f) report (ECF No. 12) will control the matters it

addresses, except to the extent of any conflict with this order. On matters not

addressed in this order or the parties’ Rule 26(f) report, the Initial Scheduling Order

(ECF No. 9) remains effective.

      4.     Each party must supplement its Rule 26 disclosures promptly after a

supplement becomes necessary. See Fed. R. Civ. P. 26(e). Each party must



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supplement in time to ensure the opposing party is not prejudiced by any failure to

supplement immediately after the information was (or should have been) discovered.

      5.      Deadlines will be determined based on this order, other applicable

orders, and governing rules. Text in the clerk’s docket entries are for the clerk’s

internal use and are not controlling.

      6.      A separate order for pretrial conference (to be issued later) will set a

deadline for a pretrial attorney conference. That deadline will also be the deadline

for Rule 26(a)(3) disclosures. The deadline to object under Rule 26(a)(3) is seven

days later.

      7.      Any motion in limine or other pretrial motion must be filed no later than

15 days before the pretrial conference. A response to any motion in limine or other

pretrial motion must be filed within the deadline set out in Local Rule 7.1(E), but

must also be filed no later than 5 days before the pretrial conference.

      8.      This case is referred to mediation. (Either party may move to abrogate

this requirement if there is good reason to do so.) The following procedures apply to

the mediation:

              a.    The parties may select a mediator by agreement. If the parties
                    have not agreed 21 days before the discovery deadline, the
                    plaintiff must immediately file a notice reporting their inability
                    to agree, and I will appoint a mediator.

              b.    Unless otherwise ordered or agreed, the parties must share
                    equally the mediator’s fee. They must pay in the manner the
                    mediator determines.
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     c.    The deadline to mediate is 14 days after the close of discovery.
           It may begin at any earlier time. Mediation may continue after
           the deadline if the mediator determines, after substantial
           mediation proceedings, that further mediation is warranted. The
           mediator or a party must file a report within 14 days after
           mediation ends indicating when mediation was conducted and
           the outcome (that is, whether the case was settled or impasse was
           declared). If the case is settled in full, the parties must notify the
           court immediately.

     d.    Each party and an attorney for each represented party must attend
           the mediation. A corporation or other organization must attend
           through a representative having full authority to settle the entire
           case without further consultation. The mediator may waive the
           requirement that the attending representative’s full authority to
           settle be without further consultation. The parties may also waive
           the requirement by agreement.

     e.    If a party is insured, a representative of the insurer having full
           authority to settle without further consultation must attend,
           unless excused in advance on a motion showing good cause. The
           mediator may waive this requirement. The parties may also
           waive this requirement by agreement.

     f.    Everything said during mediation—other than the terms of any
           settlement agreement—is confidential and inadmissible as
           settlement negotiations.

     g.    Any settlement must immediately be reduced to writing in the
           mediator’s presence and must be signed by each party and an
           attorney for each represented party.

     h.    An attorney for each party must, within 14 days of the date of
           this order, consult with the party about the advantages (including
           savings of costs and attorney’s fees) and disadvantages of
           proceeding with mediation immediately. On a party’s motion,
           the court will consider ordering that mediation begin before the
           deadline in this order.



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SO ORDERED on November 16, 2021.

                             s/ Allen Winsor
                             United States District Judge




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